                                   NO. 12-24-00228-CR

                          IN THE COURT OF APPEALS

               TWELFTH COURT OF APPEALS DISTRICT

                                      TYLER, TEXAS

STEVE CABELLO,                                    §       APPEAL FROM THE 241ST
APPELLANT

V.                                                §       JUDICIAL DISTRICT COURT

THE STATE OF TEXAS,
APPELLEE                                          §       SMITH COUNTY, TEXAS

                                   MEMORANDUM OPINION
                                       PER CURIAM

       Steve Cabello, acting pro se, filed a notice of appeal from the denial of his motion for a
free record. In a criminal case, the appellant perfects an appeal by timely filing a sufficient
notice of appeal. TEX R. APP. P. 25.2(b). The notice of appeal must be filed (1) within thirty
days after the day sentence is imposed or suspended in open court or after the day the trial court
enters an appealable order, or (2) within ninety days after the day sentence is imposed or
suspended in open court if the defendant timely files a motion for new trial.           TEX R. APP.
P. 26.2(a). The appellate court may extend the time for filing a notice of appeal if, within fifteen
days after the deadline for filing the notice, the party files in the trial court the notice of appeal
and files in the appellate court a motion complying with Rule 10.5(b). TEX R. APP. P. 26.3.
       The denial of a motion to obtain a free record is not an appealable order. Poole v. State,
No. 14-14-00081-CR, 2014 WL 1268617, at *1 (Tex. App.—Houston [14th Dist.] Mar. 27,
2014, no pet.) (per curiam) (mem. op., not designated for publication); see Rice v. State, No. 11-
20-00196-CR, 2020 WL 5491191, at *1 (Tex. App.—Eastland Sept. 11, 2020, no pet.) (per
curiam) (mem. op., not designated for publication). But even if it was appealable, the trial court
signed the order on March 15, 2024. Appellant filed his notice of appeal on July 17, after
expiration of the time for filing a timely notice of appeal or a timely motion for extension. On
July 19, the Clerk of this Court notified Appellant that the information received failed to show
the jurisdiction of the Court, i.e., there was no notice of appeal filed within the time allowed by
the rules of appellate procedure and no timely motion for an extension of time to file the notice
of appeal. See TEX R. APP. P. 26.2(a), 26.3. We informed Appellant that the appeal would be
dismissed unless the information was amended on or before July 29 to show this Court’s
jurisdiction. Appellant filed a motion for extension of time to file his notice of appeal, along
with an amended notice of appeal that does not demonstrate this Court’s jurisdiction.
         “[A]ppeals by either the State or the defendant in a criminal case are permitted only when
they are specifically authorized by statute.” State ex rel. Lykos v. Fine, 330 S.W.3d 904, 915
(Tex. Crim. App. 2011). This Court is not authorized to extend the time for perfecting an appeal
except as provided by the Texas Rules of Appellate Procedure. See TEX. R. APP. P. 26.2, 26.3;
see also Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998); Olivo v. State, 918
S.W.2d 519, 522 (Tex. Crim. App. 1996). Because the denial of a motion for free record is not
appealable and Appellant’s notice of appeal was not timely filed, we dismiss Appellant’s appeal
for want of jurisdiction. See Olivo, 918 S.W.2d at 522; see also TEX. R. APP. P. 43.2(f). All
pending motions are overruled as moot.



Opinion delivered August 7, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                             (DO NOT PUBLISH)




                                                          2
                                  COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 7, 2024


                                         NO. 12-24-00228-CR


                                        STEVE CABELLO,
                                            Appellant
                                               V.
                                      THE STATE OF TEXAS,
                                            Appellee


                                Appeal from the 241st District Court
                         of Smith County, Texas (Tr.Ct.No. 241-1230-21)

                    THIS CAUSE came on to be heard on the appellate record, and the same
being considered, it is the opinion of this Court that it is without jurisdiction of the appeal, and
that the appeal should be dismissed.
                    It is therefore ORDERED, ADJUDGED and DECREED by this Court that
this appeal be, and the same is, hereby dismissed for want of jurisdiction; and that this decision
be certified to the court below for observance.

                    By per curiam opinion.
                    Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J
